Filed 10/05/23                                                         Case 23-23523                                                                        Doc 1


  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                      Chapter       7
                                                                                                                                Check if this an
                                                                                                                                amended filing




 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


  1.   Debtor's name                The Retreat at Royal Green, LLC.

  2.   All other names debtor
       used in the last 8 years
       Include any assumed
       names, trade names and
       doing business as names

  3.   Debtor's federal
       Employer Identification      XX-XXXXXXX
       Number (EIN)


  4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                    business

                                    865 Royal Green Ave.
                                    Sacramento, CA 95831
                                    Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                    Sacramento                                                      Location of principal assets, if different from principal
                                    County                                                          place of business

                                                                                                    Number, Street, City, State & ZIP Code


  5.   Debtor's website (URL)


  6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Filed 10/05/23                                                            Case 23-23523                                                                           Doc 1
  Debtor    The Retreat at Royal Green, LLC.                                                             Case number (if known)
            Name



  7.   Describe debtor's business        A. Check one:
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            None of the above

                                         B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes.



  8.   Under which chapter of the        Check one:
       Bankruptcy Code is the
       debtor filing?                       Chapter 7
       A debtor who is a “small             Chapter 9
       business debtor” must check
                                            Chapter 11. Check all that apply:
       the first sub-box. A debtor as
       defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
       elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
       subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
       (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
       “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       check the second sub-box.
                                                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                            Chapter 12

  9.   Were prior bankruptcy                No.
       cases filed by or against
       the debtor within the last 8         Yes.
       years?
       If more than 2 cases, attach a
       separate list.                              District                                 When                                  Case number
                                                   District                                 When                                  Case number




  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
Filed 10/05/23                                                                   Case 23-23523                                                                              Doc 1
  Debtor    The Retreat at Royal Green, LLC.                                                                Case number (if known)
            Name

  10. Are any bankruptcy cases                 No
      pending or being filed by a
      business partner or an                   Yes.
      affiliate of the debtor?




       List all cases. If more than 1,
       attach a separate list                          Debtor                                                                    Relationship
                                                       District                                 When                             Case number, if known


  11. Why is the case filed in           Check all that apply:
      this district?
                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                  preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                  A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

  12. Does the debtor own or                 No
      have possession of any
      real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                             Yes.
      property that needs
      immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard?
                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                        livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                         Other
                                                      Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                      Is the property insured?
                                                         No
                                                         Yes.     Insurance agency
                                                                  Contact name
                                                                  Phone



            Statistical and administrative information

  13. Debtor's estimation of             .         Check one:
      available funds
                                                      Funds will be available for distribution to unsecured creditors.

                                                      After any administrative expenses are paid, no funds will be available to unsecured creditors.


  14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
      creditors                                                                               5001-10,000                                 50,001-100,000
                                             50-99
                                             100-199                                          10,001-25,000                               More than100,000
                                             200-999

  15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                             $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                             $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                             $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


  16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

  Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
Filed 10/05/23                                                Case 23-23523                                                                      Doc 1
  Debtor   The Retreat at Royal Green, LLC.                                             Case number (if known)
           Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




  Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Filed 10/05/23                                                         Case 23-23523                                                                             Doc 1
  Debtor    The Retreat at Royal Green, LLC.                                                         Case number (if known)
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      10/05/2023
                                                    MM / DD / YYYY


                               X /s/ Antonette Tin                                                          Antonette Tin
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   President




  18. Signature of attorney    X /s/ Peter G. Macaluso                                                       Date 10/05/2023
                                   Signature of attorney for debtor                                               MM / DD / YYYY

                                   Peter G. Macaluso 215730
                                   Printed name

                                   Law Office of Peter G. Macaluso
                                   Firm name

                                   7230 South Land Park Drive #127
                                   Sacramento, CA 95831
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     916-392-6591                  Email address      info@pmbankruptcy.com

                                   215730 CA
                                   Bar number and State




  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Filed 10/05/23                                                         Case 23-23523                                                                              Doc 1




     Fill in this information to identify the case:

     Debtor name        The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                   Schedule H: Codebtors (Official Form 206H)
                   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                   Amended Schedule
                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                   Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.

           Executed on        10/05/2023                     X /s/ Antonette Tin
                                                               Signature of individual signing on behalf of debtor

                                                                Antonette Tin
                                                                Printed name

                                                                President
                                                                Position or relationship to debtor




    Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
Filed 10/05/23                                                                                       Case 23-23523                                                                                                   Doc 1

     Fill in this information to identify the case:

     Debtor name            The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:                       EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                                                           Check if this is an
                                                                                                                                                                                           amended filing



    Official Form 206Sum
    Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

     Part 1:      Summary of Assets


     1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

           1a. Real property:
               Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

           1b. Total personal property:
               Copy line 91A from Schedule A/B.........................................................................................................................                     $              4,103.29

           1c. Total of all property:
               Copy line 92 from Schedule A/B...........................................................................................................................                    $              4,103.29


     Part 2:      Summary of Liabilities


     2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
           Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


     3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

           3a. Total claim amounts of priority unsecured claims:
               Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

           3b. Total amount of claims of nonpriority amount of unsecured claims:
               Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           673,825.91


     4.    Total liabilities .......................................................................................................................................................
           Lines 2 + 3a + 3b                                                                                                                                                           $             673,825.91




     Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
    Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
Filed 10/05/23                                                         Case 23-23523                                                                                 Doc 1

     Fill in this information to identify the case:

     Debtor name         The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



    Official Form 206A/B
    Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
    Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
    Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
    which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
    or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
    the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
    additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

     For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
     schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
     debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
     Part 1:      Cash and cash equivalents
    1. Does the debtor have any cash or cash equivalents?

            No. Go to Part 2.
             Yes Fill in the information below.
          All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                           debtor's interest

     3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
               Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                                number


               3.1.     F&M Bank                                          Checking                              5001                                             $3.00




               3.2.     Bank of America                                   Business                              4637                                       $100.00




               3.3.     Bank of Stockton                                  Checking                              5000                                             $0.29



     4.        Other cash equivalents (Identify all)

     5.        Total of Part 1.                                                                                                                        $103.29
               Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

     Part 2:          Deposits and Prepayments
    6. Does the debtor have any deposits or prepayments?

            No. Go to Part 3.
            Yes Fill in the information below.

     7.        Deposits, including security deposits and utility deposits
               Description, including name of holder of deposit



    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                         page 1
Filed 10/05/23                                                         Case 23-23523                                                                   Doc 1

     Debtor           The Retreat at Royal Green, LLC.                                           Case number (If known)
                      Name




               7.1.     Deposits                                                                                                                  $0.00



     8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
               Description, including name of holder of prepayment


     9.        Total of Part 2.                                                                                                                $0.00
               Add lines 7 through 8. Copy the total to line 81.

     Part 3:          Accounts receivable
    10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes Fill in the information below.

     11.       Accounts receivable
               11a. 90 days old or less:                           0.00     -                                   0.00 = ....                       $0.00
                                             face amount                           doubtful or uncollectible accounts




     12.       Total of Part 3.                                                                                                                $0.00
               Current value on lines 11a + 11b = line 12. Copy the total to line 82.

     Part 4:          Investments
    13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes Fill in the information below.


     Part 5:          Inventory, excluding agriculture assets
    18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes Fill in the information below.


     Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes Fill in the information below.


     Part 7:          Office furniture, fixtures, and equipment; and collectibles
    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

           No. Go to Part 8.
           Yes Fill in the information below.

               General description                                              Net book value of         Valuation method used   Current value of
                                                                                debtor's interest         for current value       debtor's interest
                                                                                (Where available)

     39.       Office furniture
               Bldg. Office Furntiture                                                         $0.00                                           $500.00


    Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                       page 2
Filed 10/05/23                                                          Case 23-23523                                                                   Doc 1

     Debtor       The Retreat at Royal Green, LLC.                                               Case number (If known)
                  Name



     40.       Office fixtures

     41.       Office equipment, including all computer equipment and
               communication systems equipment and software

     42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
               books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
               collections; other collections, memorabilia, or collectibles

     43.       Total of Part 7.                                                                                                               $500.00
               Add lines 39 through 42. Copy the total to line 86.

     44.       Is a depreciation schedule available for any of the property listed in Part 7?
                  No
                  Yes

     45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
                  No
                  Yes

     Part 8:      Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

           No. Go to Part 9.
           Yes Fill in the information below.

               General description                                            Net book value of          Valuation method used   Current value of
               Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
               (i.e., VIN, HIN, or N-number)                                  (Where available)

     47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


     48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
               floating homes, personal watercraft, and fishing vessels

     49.       Aircraft and accessories


     50.       Other machinery, fixtures, and equipment (excluding farm
               machinery and equipment)
               (4) Bedroom of Furniture                                                        $0.00                                        $1,800.00


               Refrigerator, Washer, Dryer, misc household
               equipment                                                                       $0.00                                        $1,200.00


               Living room furinutre, kitchen furniture                                        $0.00                                          $500.00



     51.       Total of Part 8.                                                                                                          $3,500.00
               Add lines 47 through 50. Copy the total to line 87.

     52.       Is a depreciation schedule available for any of the property listed in Part 8?
                  No
                  Yes

     53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
                  No
                  Yes
    Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
Filed 10/05/23                                                        Case 23-23523                                         Doc 1

     Debtor      The Retreat at Royal Green, LLC.                                              Case number (If known)
                 Name



     Part 9:     Real property
    54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes Fill in the information below.


     Part 10:    Intangibles and intellectual property
    59. Does the debtor have any interests in intangibles or intellectual property?

          No. Go to Part 11.
          Yes Fill in the information below.


     Part 11:    All other assets
    70. Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

          No. Go to Part 12.
          Yes Fill in the information below.




    Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                page 4
Filed 10/05/23                                                                           Case 23-23523                                                                              Doc 1

     Debtor          The Retreat at Royal Green, LLC.                                                                    Case number (If known)
                     Name



     Part 12:        Summary

    In Part 12 copy all of the totals from the earlier parts of the form
          Type of property                                                                               Current value of                    Current value of real
                                                                                                         personal property                   property

     80. Cash, cash equivalents, and financial assets.
         Copy line 5, Part 1                                                                                                 $103.29

     81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

     82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

     83. Investments. Copy line 17, Part 4.                                                                                      $0.00

     84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

     85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

     86. Office furniture, fixtures, and equipment; and collectibles.
         Copy line 43, Part 7.                                                                                               $500.00

     87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $3,500.00

     88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

     89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

     90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

     91. Total. Add lines 80 through 90 for each column                                                                $4,103.29         + 91b.                      $0.00


     92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $4,103.29




    Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                       page 5
Filed 10/05/23                                                       Case 23-23523                                                                          Doc 1

     Fill in this information to identify the case:

     Debtor name      The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:      EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing

    Official Form 206D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
    Be as complete and accurate as possible.
    1. Do any creditors have claims secured by debtor's property?

            No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
            Yes. Fill in all of the information below.




    Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
Filed 10/05/23                                                                Case 23-23523                                                                                        Doc 1

     Fill in this information to identify the case:

     Debtor name        The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:         EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing


    Official Form 206E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
    List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
    Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
    2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

     Part 1:      List All Creditors with PRIORITY Unsecured Claims

           1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

                 No. Go to Part 2.

                 Yes. Go to line 2.


     Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
           3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
              out and attach the Additional Page of Part 2.
                                                                                                                                                           Amount of claim

     3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $1.00
               Alexander G. Fabros/Carlota Serame                                   Contingent
               c/o: Law Offices of Michael J. Harringto                             Unliquidated
               1520 E. Cowell Blvd., Ste B5-346                                     Disputed
               Davis, CA 95616
                                                                                 Basis for the claim: Judgment
               Date(s) debt was incurred 12/2/22
               Last 4 digits of account number 9030                              Is the claim subject to offset?       No     Yes


     3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $1.00
               Kyung Finley, Esq.
               Finley Employment Law                                                Contingent
               2450 Venture Oaks Way                                                Unliquidated
               Ste 290                                                              Disputed
               Sacramento, CA 95833
                                                                                 Basis for the claim:
               Date(s) debt was incurred
               Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


     3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $183,246.48
               Michael J. Harrington, Esq.                                          Contingent
               1520 E. Crowell Blvd, Ste. B5-346                                    Unliquidated
               Davis, CA 95616                                                      Disputed
               Date(s) debt was incurred 6/23/23
                                                                                 Basis for the claim:
               Last 4 digits of account number 0558
                                                                                 Is the claim subject to offset?       No     Yes

     3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $490,577.43
               Michael J. Harrington, Esq.                                          Contingent
               1520 E. Crowll Blvd., Ste B5-346                                     Unliquidated
               Davis, CA 95616
                                                                                    Disputed
               Date(s) debt was incurred
                                                                                 Basis for the claim:
               Last 4 digits of account number DING
                                                                                 Is the claim subject to offset?       No     Yes



     Part 3:      List Others to Be Notified About Unsecured Claims


    Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                               53023
Filed 10/05/23                                                               Case 23-23523                                                                                   Doc 1

     Debtor      The Retreat at Royal Green, LLC.                                                      Case number (if known)
                 Name

    4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

               Name and mailing address                                                               On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

    5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
     5a. Total claims from Part 1                                                                        5a.       $                           0.00
     5b. Total claims from Part 2                                                                        5b.   +   $                     673,825.91

     5c. Total of Parts 1 and 2
         Lines 5a + 5b = 5c.                                                                             5c.       $                        673,825.91




    Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
Filed 10/05/23                                                         Case 23-23523                                                                              Doc 1

     Fill in this information to identify the case:

     Debtor name      The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing


    Official Form 206G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
    Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

    1.   Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
    (Official Form 206A/B).

     2. List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

     2.1.      State what the contract or             Long Term Lease
               lease is for and the nature of
               the debtor's interest

                   State the term remaining           30 yrs.
                                                                                        EBL Family Trust
               List the contract number of any                                          865 Royal Green Ave.
                     government contract                                                Sacramento, CA 95831




    Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
Filed 10/05/23                                                       Case 23-23523                                                                          Doc 1

     Fill in this information to identify the case:

     Debtor name      The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing


    Official Form 206H
    Schedule H: Your Codebtors                                                                                                                      12/15

    Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
    Additional Page to this page.

         1. Do you have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes

      2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
         creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
         on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
               Column 1: Codebtor                                                                        Column 2: Creditor



               Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                     that apply:

       2.1     Annotte Tin                 865 Royal Green Ave                                       Alexander G.                       D
                                           Sacramento, CA 95831                                      Fabros/Carlota                     E/F       3.1
                                                                                                     Serame
                                                                                                                                        G




       2.2     Antonette Tin               865 Royal Green ave                                       Michael J.                         D
                                           Sacramento, CA 95831                                      Harrington, Esq.                   E/F       3.3
                                                                                                                                        G




       2.3     Antonette B. Tin            865 Royal Green Ave.                                      EBL Family Trust                   D
                                           Sacramento, CA 95831                                                                         E/F
                                                                                                                                        G   2.1




    Official Form 206H                                                     Schedule H: Your Codebtors                                             Page 1 of 1
Filed 10/05/23                                                        Case 23-23523                                                                       Doc 1




     Fill in this information to identify the case:

     Debtor name        The Retreat at Royal Green, LLC.

     United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA

     Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



    Official Form 207
    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
    The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write the debtor’s name and case number (if known).

     Part 1:     Income

    1. Gross revenue from business

               None.

          Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                    Gross revenue
          which may be a calendar year                                                    Check all that apply                  (before deductions and
                                                                                                                                exclusions)

          From the beginning of the fiscal year to filing date:                               Operating a business                         $156,000.00
          From 1/01/2023 to Filing Date
                                                                                              Other    Gross Income


          For prior year:                                                                     Operating a business                         $309,995.58
          From 1/01/2022 to 12/31/2022
                                                                                              Other    Gross Income


          For year before that:                                                               Operating a business                         $318,048.00
          From 1/01/2021 to 12/31/2021
                                                                                              Other    Gross Income

    2. Non-business revenue
       Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
       and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

               None.

                                                                                          Description of sources of revenue     Gross revenue from
                                                                                                                                each source
                                                                                                                                (before deductions and
                                                                                                                                exclusions)

          From the beginning of the fiscal year to filing date:
          From 1/01/2023 to Filing Date                                                   Gross Income                                                $1.00


          For prior year:
          From 1/01/2022 to 12/31/2022                                                    Gross Income                                                $1.00


          For year before that:
          From 1/01/2021 to 12/31/2021                                                    Gross Income                                                $1.00


     Part 2:     List Certain Transfers Made Before Filing for Bankruptcy


    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Filed 10/05/23                                                          Case 23-23523                                                                               Doc 1
     Debtor      The Retreat at Royal Green, LLC.                                                   Case number (if known)




    3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
       filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
       and every 3 years after that with respect to cases filed on or after the date of adjustment.)

               None.

          Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                             Check all that apply
          3.1.
                  IRS                                                  July 26, 2023                      $2,923.94               Secured debt
                  Ogden Revenue Service                                                                                           Unsecured loan repayments
                  OGDEN, UT 84201                                                                                                 Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other IRS


          3.2.
                  Bank Of America                                      June 15,2023                       $7,000.00               Secured debt
                  PO Box 5170                                                                                                     Unsecured loan repayments
                  Simi Valley, CA 93062-5170
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other



    4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
       or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
       may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
       listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
       debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

               None.

          Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
          Relationship to debtor
          4.1.    Antonette Tin                                        thru 7/27/23                     $20,342.84           Management Services & Client
                  8865 Haflinger Way                                                                                         Care Services - HOSPICE
                  Elk Grove, CA 95757
                  Owner/Employee

    5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
       a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

               None

          Creditor's name and address                      Describe of the Property                                        Date                   Value of property


    6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
       of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
       debt.

               None

          Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                           taken

     Part 3:     Legal Actions or Assignments

    7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
       in any capacity—within 1 year before filing this case.

    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
Filed 10/05/23                                                         Case 23-23523                                                                             Doc 1
     Debtor      The Retreat at Royal Green, LLC.                                                    Case number (if known)




               None.

                  Case title                              Nature of case               Court or agency's name and             Status of case
                  Case number                                                          address
          7.1.    Fabros, et al v The Retreat at          Labor Violations             Sacramento Superior Court                   Pending
                  Royal Green, LLC, Tin, et al.                                        720 9th Street                              On appeal
                  34-2018-00239030                                                     Sacramento, CA 95814
                                                                                                                                   Concluded


    8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
       receiver, custodian, or other court-appointed officer within 1 year before filing this case.

               None


     Part 4:     Certain Gifts and Charitable Contributions

    9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
       the gifts to that recipient is less than $1,000

               None

                  Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


     Part 5:     Certain Losses

    10. All losses from fire, theft, or other casualty within 1 year before filing this case.

               None

          Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
          how the loss occurred                                                                                                                             lost
                                                          If you have received payments to cover the loss, for
                                                          example, from insurance, government compensation, or
                                                          tort liability, list the total received.

                                                          List unpaid claims on Official Form 106A/B (Schedule
                                                          A/B: Assets – Real and Personal Property).

     Part 6:     Certain Payments or Transfers

    11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
        of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
        relief, or filing a bankruptcy case.

               None.




    Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Filed 10/05/23                                                           Case 23-23523                                                                             Doc 1
     Debtor       The Retreat at Royal Green, LLC.                                                    Case number (if known)



                    Who was paid or who received               If not money, describe any property transferred               Dates              Total amount or
                    the transfer?                                                                                                                        value
                    Address
          11.1.     Peter G. Macaluso
                    Law Offices Of Peter G.
                    Macaluso
                    7230 South Land Park Dr.,
                    Ste. 127
                    Sacramento, CA 95831                                                                                     8/19/23                  $3,000.00

                    Email or website address


                    Who made the payment, if not debtor?




    12. Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
        to a self-settled trust or similar device.
        Do not include transfers already listed on this statement.

               None.

          Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                    were made                            value

    13. Transfers not already listed on this statement
        List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
        2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
        both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

               None.

                   Who received transfer?                   Description of property transferred or                     Date transfer            Total amount or
                   Address                                  payments received or debts paid in exchange                was made                          value

     Part 7:      Previous Locations

    14. Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


               Does not apply

                    Address                                                                                              Dates of occupancy
                                                                                                                         From-To

     Part 8:      Health Care Bankruptcies

    15. Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        - diagnosing or treating injury, deformity, or disease, or
        - providing any surgical, psychiatric, drug treatment, or obstetric care?

                No. Go to Part 9.
                Yes. Fill in the information below.


                    Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                            the debtor provides                                                        and housing, number of
                                                                                                                                       patients in debtor’s care

     Part 9:      Personally Identifiable Information



    Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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     Debtor     The Retreat at Royal Green, LLC.                                                     Case number (if known)



    16. Does the debtor collect and retain personally identifiable information of customers?

                No.
                Yes. State the nature of the information collected and retained.

    17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
        profit-sharing plan made available by the debtor as an employee benefit?

                No. Go to Part 10.
                Yes. Does the debtor serve as plan administrator?


     Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.

              None
                  Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
                  Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                                   moved, or                              transfer
                                                                                                                   transferred

    19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
        case.


              None

          Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?
                                                                 Address

    20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.


              None

          Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                                 access to it                                                                      still have it?


     Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

    21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
        not list leased or rented property.

           None


     Part 12:    Details About Environment Information

    For the purpose of Part 12, the following definitions apply:
         Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
         medium affected (air, land, water, or any other medium).

         Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
         owned, operated, or utilized.

         Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
         similarly harmful substance.
    Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
Filed 10/05/23                                                         Case 23-23523                                                                                 Doc 1
     Debtor     The Retreat at Royal Green, LLC.                                                    Case number (if known)




    Report all notices, releases, and proceedings known, regardless of when they occurred.

    22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No.
                Yes. Provide details below.

          Case title                                            Court or agency name and              Nature of the case                            Status of case
          Case number                                           address

    23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?

                No.
                Yes. Provide details below.

          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

    24. Has the debtor notified any governmental unit of any release of hazardous material?

                No.
                Yes. Provide details below.

          Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                                address

     Part 13:    Details About the Debtor's Business or Connections to Any Business

    25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.

              None

       Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           Dates business existed
       25.1.    Antonette Tin                            Care Home                                         EIN:         XX-XXXXXXX
                865 Royal Green Ave
                Sacramento, CA 95831                                                                       From-To      5/9/2016 to 10//1/23


    26. Books, records, and financial statements
        26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
                 None

          Name and address                                                                                                                 Date of service
                                                                                                                                           From-To
          26a.1.        Moore Messina Webb LLP                                                                                             June 2, 2022
                        2237 Douglas Blve., Ste 140
                        Roseville, CA 95661

        26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
             within 2 years before filing this case.

                 None


        26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                 None


    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
Filed 10/05/23                                                         Case 23-23523                                                                                Doc 1
     Debtor     The Retreat at Royal Green, LLC.                                                    Case number (if known)



          Name and address                                                                               If any books of account and records are
                                                                                                         unavailable, explain why
          26c.1.        Michael J. Harrington, Esq.
                        1520 E. Cowell Blvd. Ste B5-346
                        Davis, CA 95616

        26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
             statement within 2 years before filing this case.

                 None

          Name and address
          26d.1.        Michael J. Harrington, Esq.
                        1520 E. Cowell Blvd., Ste B5-346
                        Davis, CA 95616

    27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?

               No
               Yes. Give the details about the two most recent inventories.

                   Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
                   inventory                                                                                     or other basis) of each inventory

    28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
        in control of the debtor at the time of the filing of this case.

          Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                      interest                                  any
          Antonette Tin                           865 Royal Green Ave                                 President                                 100%
                                                  Sacramento, CA 95831



    29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
        control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


               No
               Yes. Identify below.


    30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
        loans, credits on loans, stock redemptions, and options exercised?

               No
               Yes. Identify below.

                   Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                           property                                                                        providing the value

    31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

               No
               Yes. Identify below.

       Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                           corporation




    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
Filed 10/05/23                                                         Case 23-23523                                                                        Doc 1
     Debtor     The Retreat at Royal Green, LLC.                                                    Case number (if known)



    32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

                No
                Yes. Identify below.

       Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                           fund

     Part 14:    Signature and Declaration

         WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
         connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
         18 U.S.C. §§ 152, 1341, 1519, and 3571.

         I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
         and correct.

         I declare under penalty of perjury that the foregoing is true and correct.

     Executed on        10/05/2023

     /s/ Antonette Tin                                              Antonette Tin
     Signature of individual signing on behalf of the debtor        Printed name

     Position or relationship to debtor   President

    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No
       Yes




    Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
Filed 10/05/23                                                           Case 23-23523                                                                       Doc 1
    B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                                 Eastern District of California
     In re       The Retreat at Royal Green, LLC.                                                                 Case No.
                                                                                  Debtor(s)                       Chapter       7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
          compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
          be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     3,000.00
                 Prior to the filing of this statement I have received                                        $                     3,000.00
                 Balance Due                                                                                  $                         0.00

    2.    The source of the compensation paid to me was:

                      Debtor             Other (specify):

    3.    The source of compensation to be paid to me is:

                      Debtor             Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

          a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
          b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
          c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
          d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; judicial lien avoidances,
                  relief from stay actionspreparation and filing of reaffirmation agreements and applications as needed;
                  preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

    6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                  Representation of the debtors in any dischargeability actions, or any other adversary proceeding.
                                                                         CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         10/05/2023                                                               /s/ Peter G. Macaluso
         Date                                                                     Peter G. Macaluso 215730
                                                                                  Signature of Attorney
                                                                                  Law Office of Peter G. Macaluso
                                                                                  7230 South Land Park Drive #127
                                                                                  Sacramento, CA 95831
                                                                                  916-392-6591 Fax: 916-392-6590
                                                                                  info@pmbankruptcy.com
                                                                                  Name of law firm
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                                Experian
                                PO Box 4500
                                Allen, TX 75013


                                Equifax Information Services, LLC
                                PO Box 740256
                                Atlanta, GA 30374


                                TransUnion LLC
                                Consumer Dispute Center
                                PO Box 2000
                                Chester, PA 19016


                                Alexander G. Fabros/Carlota Serame
                                c/o: Law Offices of Michael J. Harringto
                                1520 E. Cowell Blvd., Ste B5-346
                                Davis, CA 95616


                                Annotte Tin
                                865 Royal Green Ave
                                Sacramento, CA 95831


                                Antonette B. Tin
                                865 Royal Green Ave.
                                Sacramento, CA 95831


                                Antonette Tin
                                865 Royal Green ave
                                Sacramento, CA 95831


                                EBL Family Trust
                                865 Royal Green Ave.
                                Sacramento, CA 95831


                                Kyung Finley, Esq.
                                Finley Employment Law
                                2450 Venture Oaks Way
                                Ste 290
                                Sacramento, CA 95833


                                Michael J. Harrington, Esq.
                                1520 E. Crowell Blvd, Ste. B5-346
                                Davis, CA 95616
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                                Michael J. Harrington, Esq.
                                1520 E. Crowll Blvd., Ste B5-346
                                Davis, CA 95616
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                                                United States Bankruptcy Court
                                                   Eastern District of California
     In re   The Retreat at Royal Green, LLC.                                              Case No.
                                                                  Debtor(s)                Chapter     7




                                 CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

    Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
    recusal, the undersigned counsel for The Retreat at Royal Green, LLC. in the above captioned action, certifies that the
    following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
    more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
     Antonette Tin
     865 Royal Green Ave
     Sacramento, CA 95831




      None [Check if applicable]




     10/05/2023                                      /s/ Peter G. Macaluso
     Date                                            Peter G. Macaluso 215730
                                                     Signature of Attorney or Litigant
                                                     Counsel for The Retreat at Royal Green, LLC.
                                                     Law Office of Peter G. Macaluso
                                                     7230 South Land Park Drive #127
                                                     Sacramento, CA 95831
                                                     916-392-6591 Fax:916-392-6590
                                                     info@pmbankruptcy.com
